        Case 2:09-cr-20125-CM        Document 1      Filed 10/07/09    Page 1 of 3




              In the United States District Court
                            FOR THE DISTRICT OF KANSAS
                                 (Kansas City Docket)


UNITED STATES OF AMERICA,                )
                                         )
                     Plaintiff,          )
                                         )
       v.                                )       CASE NUMBER: 09- 20125 CM/JPO
                                         )
KEVIN JOHNSON,                           )
                                         )
                     Defendant.          )
                                         )




                                      INDICTMENT

       The Grand Jury charges:



                                        COUNT 1

       On or about September 18, 2009, in the District of Kansas, the defendant,

                                   KEVIN JOHNSON,

did unlawfully, knowingly, and intentionally possess with intent to distribute approximately

more than 50 grams of methamphetamine, a controlled substance, in violation of Title 21,




                                             1
        Case 2:09-cr-20125-CM       Document 1      Filed 10/07/09    Page 2 of 3



United States Code, Sections 841(a)(1) and 841(b)(1)(A).

                                                A TRUE BILL.




DATED: October 7, 2009                          s/ Foreperson
                                                FOREPERSON


s/Kim I. Martin, # 13407 for
LANNY D. WELCH
UNITED STATES ATTORNEY
DISTRICT OF KANSAS
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Ks.S.Ct. No. 12430

(It is requested that trial of the above captioned case be held in Kansas City, Kansas.)




                                            2
       Case 2:09-cr-20125-CM      Document 1      Filed 10/07/09   Page 3 of 3




PENALTIES:

Count 1:     21 U.S.C. § 841(a)(1) - Possession with intent to distribute a controlled
             substance

     #       NLT 10 years and NMT life imprisonment,
     #       NMT $4,000,000.00 fine,
     #       NLT 5 years supervised release, and
     #       $100 special assessment

     If the defendant has a prior felony drug conviction then:

     #       NLT 20 years and NMT life imprisonment,
     #       NMT $8,000,000.00 fine,
     #       NLT 10 years supervised release, and
     #       $100 special assessment

     If the defendant has two or more prior felony drug convictions then:

     #       NLT life imprisonment,
     #       NMT $8,000,000.00 fine,
     #       NLT 10 years supervised release, and
     #       $100 special assessment




                                          3
